Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 1 of 12 Page ID
                                 #:8443



       BRYAN SCHWARTZ LAW
   1 Bryan J. Schwartz (SBN 209903)

   2 bryan@bryanschwartzlaw.com
       Rachel M. Terp (SBN 290666)
   3 rachel@bryanschwartzlaw.com
     Eduard R. Meleshinsky (SBN 300547)
   4
     eduard@bryanschwartzlaw.com
   5 1330 Broadway, Suite 1630
     Oakland, CA 94612
   6 Telephone: (510) 444-9300
     Facsimile: (510) 444-9301
   7

   8 SCHONBRUN DESIMONE SEPLOW
       HARRIS & HOFFMAN LLP
   9 Wilmer J. Harris (SBN 150407)
       wharris@sdshhlaw.com
  10 Isabel M. Daniels (SBN 270887)

  11 idaniels@sdshhlaw.com
     715 Fremont Ave.
  12 S. Pasadena, CA 91030
     Telephone: (626) 441-4129
  13 Facsimile: (626) 399-7040

  14
     [Additional counsel on following page]
  15 Attorneys for Individual and Representative
     Plaintiffs and the Putative Class
  16

  17                        UNITED STATES DISTRICT COURT
  18       CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
  19 Terry P. Boyd, Ethel Joann Parks, Sonia        CASE NO. SACV13-00561-DOC
  20
       Medina, and Linda Zanko, individually, and   (JPRx)
       on behalf of others similarly situated,
  21                                                DECLARATION OF MICHAEL
  22               Plaintiffs,                      D. SEPLOW IN SUPPORT OF
                                                    JOINT STIPULATION RE
  23         vs.                                    CLASS MEMBERS AND
  24                                                SETTLEMENT ALLOCATION
       Bank of America Corp.; LandSafe, Inc.;
  25 LandSafe Appraisal Services, Inc.; and

  26 DOES 1 to 10, inclusive,

  27               Defendants.
  28

              DECLARATION OF MICHAEL D. SEPLOW IN SUPPORT OF JOINT STIPULATION
                      RE CLASS MEMBERS AND SETTLEMENT ALLOCATION
Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 2 of 12 Page ID
                                 #:8444



   1 SCHONBRUN DESIMONE SEPLOW

   2 HARRIS & HOFFMAN LLP
       Benjamin Schonbrun (SBN 118323)
   3 schonbrun.ben@gmail.com

   4 Michael D. Seplow (SBN 150183)
     mseplow@gmail.com
   5
     Aidan C. McGlaze (SBN 277270)
   6 amcglaze.sdshhh@gmail.com
     723 Ocean Front Walk
   7
     Venice, CA 90291
   8 Telephone: (310) 396-0731
     Facsimile: (310) 399-7040
   9

  10 Attorneys for Individual and Representative
       Plaintiffs and the Putative Class
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

               DECLARATION OF MICHAEL D. SEPLOW IN SUPPORT OF JOINT STIPULATION
                       RE CLASS MEMBERS AND SETTLEMENT ALLOCATION
Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 3 of 12 Page ID
                                 #:8445



   1        I, Michael D. Seplow, declare as follows:
   2        1.     I am an attorney-at-law and a partner with the firm Schonbrun
   3 DeSimone Seplow Harris & Hoffman LLP (“SDSHH”) and am counsel of record

   4 for Plaintiffs in the instant action. The facts set forth in this declaration are true and

   5 of my own personal knowledge, and if called as a witness, I could and would testify

   6 competently under oath to the facts set forth herein. I am a member of the State Bar

   7 of California and am admitted to practice before this Court. This declaration is

   8 submitted in support of the parties’ Joint Stipulation re Class Members and

   9 Settlement Allocation.

  10        2.     On September 28, 2015, the Court granted preliminary approval of the
  11 $36,000,000 non-reversionary settlement of the claims of the review appraiser class

  12 (“the Class”) [Dkt. 371]. As described in the Motion for Preliminary Approval

  13 [Dkt. 354] and supporting declarations and documents, including Paragraph 9 of my

  14 prior declaration [Dkt. 356] (“Seplow MPA Declaration”), the proposed settlement

  15 formula is primarily based on Defendants’ payroll and appraisal data for the Class

  16 and the results of a joint survey regarding the average amount of it takes to perform

  17 various appraisals.

  18        3.     As set forth in the Motion for Preliminary Approval [Dkt. 354] and
  19 supporting declarations and documents, counsel for Plaintiffs and Defendants have

  20 been working with Plaintiffs’ expert, Dr. Brian Kriegler, to confirm the accuracy of

  21 the transaction and payroll data which will be used to calculate the settlement

  22 allocation to the Class and to confirm who is a member of the Class. As a result of

  23 reviewing this data, it has been determined that Kim Douglas, who was provided

  24 with Class Notice of the California Rule 23 class action in June 2014, did not

  25 perform the duties of a Staff Appraiser during the relevant time period and does not

  26 have sufficient transaction data to be considered a class member according to the

  27 theories and claims alleged by Plaintiffs in this lawsuit; and as a result, and the

  28
              DECLARATION OF MICHAEL D. SEPLOW IN SUPPORT OF JOINT STIPULATION
                      RE CLASS MEMBERS AND SETTLEMENT ALLOCATION
                                                  1
Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 4 of 12 Page ID
                                 #:8446



   1 parties agree that Kim Douglas should never have been included as a member of the

   2 Class and will not be a party to, or bound by, the settlement in this case. Upon

   3 Court approval of this stipulation, counsel will contact Kim Douglas to inform her

   4 that she is not part of the Class and is not bound by the settlement in this case.

   5        4.     As a result of reviewing the data and including agreed upon late opt-
   6 ins, the parties have confirmed that there are 368 Class Members (instead of 365 as

   7 mentioned in the Motion for Preliminary Approval and the estimated 367 Class

   8 Members referenced in the Settlement Agreement);

   9        5.     Further, during the course of reviewing the transaction data, counsel for
  10 Plaintiffs along with Dr. Kriegler noticed that there was a wide variance between

  11 those class members receiving the highest settlement payments and those receiving

  12 the lowest. Utilizing the transaction and survey data generates an accurate average

  13 amount of time it takes to complete various appraisals. Nonetheless if the

  14 distributions are based solely on the average time it takes to complete appraisals, it

  15 may tend to favor people with more appraisal transactions who are perhaps more

  16 efficient and complete more appraisals per day compared to others who are less

  17 efficient. In order to account for this variation, counsel for Plaintiffs decided to

  18 factor in the number of work weeks each appraiser worked during the Class Period

  19 to arrive at more equitable distribution. We believe that is also consistent with the

  20 testimonial evidence in the case regarding the hours appraisers worked and also with

  21 the notion that employees are paid for the time that they worked (and not just on

  22 how many appraisals they completed). As a result of using this slightly revised

  23 formula (described below) there is less of a difference between the lowest and

  24 highest settlement amounts. In particular, under the prior formula, the proposed

  25 settlement amounts ranged from approximately $343,000.00 to $110.00 while under

  26 the revised proposed formula, the projected settlements are more evenly distributed

  27 among the class members and range from approximately $249,000 to $1,800.00.

  28
              DECLARATION OF MICHAEL D. SEPLOW IN SUPPORT OF JOINT STIPULATION
                      RE CLASS MEMBERS AND SETTLEMENT ALLOCATION
                                                 2
Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 5 of 12 Page ID
                                 #:8447



   1        6. Specifically, in calculating each Class Member’s Net Pro Rata Share of the
   2 Settlement, the formula set forth in Paragraph 9 of the Seplow MPA Declaration is

   3 modified as follows: Each class member will be allocated $100 for each work week

   4 during the Class Period in which they were employed by Defendants as a residential

   5 appraiser. The aggregate of this allocation (approximately $7,400,000) is then

   6 deducted from the approximate Net Settlement Amount ($23,000,000) and this

   7 amount (approximately $15,600,000) will be used to calculate the remaining

   8 amounts due to each class member using the average time to complete the appraisals

   9 from the survey and the Defendants’ transaction data. These calculations will be

  10 made using the formula set forth in Paragraph 9 of the Seplow MPA Declaration and

  11 the Settlement Agreement to arrive at an allocation for each Class Member which is

  12 based on their transaction data and the number of workweeks within the class

  13 period.

  14        7.     Attached hereto as Exhibit A is a revised Notice to the Class, which
  15 incorporates these proposed changes.

  16

  17        I declare under penalty of perjury of the laws of the State of California and
  18 the United States that the foregoing is true and correct.

  19        Executed on October 9, 2015, in Venice, California.
  20
                                                  s/ Michael D. Seplow
  21                                         By: ________________________
  22                                                Michael D. Seplow
  23

  24

  25

  26

  27

  28
               DECLARATION OF MICHAEL D. SEPLOW IN SUPPORT OF JOINT STIPULATION
                       RE CLASS MEMBERS AND SETTLEMENT ALLOCATION
                                                3
Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 6 of 12 Page ID
                                 #:8448




                           EXHIBIT A
          Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 7 of 12 Page ID
                                           #:8449
                                                                                                                                                       «ClaimID»
                                                   UNITED STATES DISTRICT COURT
                                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                        SOUTHERN DIVISION
TERRY P. BOYD, ETHEL JOANN PARKS, SONIA MEDINA,
LINDA ZANKO, and VICTOR GALAZ, individually, on behalf of                            Case No. 13-CV-00561 DOC (JPRx)
all others similarly situated, and on behalf of the general public,
                                Plaintiffs,
                                                                                     NOTICE OF CLASS AND COLLECTIVE ACTION
           v.
                                                                                     SETTLEMENT TO STAFF APPRAISERS
BANK OF AMERICA CORP.; LANDSAFE, INC.;
LANDSAFE APPRAISAL SERVICES, INC.;
and DOES 1-10, inclusive                                                             Honorable David O. Carter
                                Defendants.                                 |

                  IMPORTANT NOTIFICATION TO CLASS AND COLLECTIVE ACTION MEMBERS
TO:        ALL INDIVIDUALS WHO HAVE BEEN EMPLOYED AS A STAFF APPRAISER BY BANK OF AMERICA CORPORATION, LANDSAFE,
           INC., AND/OR LANDSAFE APPRAISAL SERVICES, INC. IN CALIFORNIA AT ANY TIME BETWEEN APRIL 9, 2009 AND SEPTEMBER
           28, 2015 AND WHO HAVE NOT PREVIOUSLY EXCLUDED THEMSELVES FROM THE CERTIFIED CLASS IN THE ABOVE-
           REFERENCED LAWSUIT; AND
           ALL INDIVIDUALS WHO HAVE BEEN EMPLOYED AS A STAFF APPRAISER BY BANK OF AMERICA CORPORATION, LANDSAFE,
           INC., AND/OR LANDSAFE APPRAISAL SERVICES, INC. AT ANY TIME BETWEEN APRIL 9, 2010 AND SEPTEMBER 28, 2015 AND
           WHO HAVE FILED CONSENTS TO JOIN THE ABOVE-REFERENCED LAWSUIT

PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY. A FEDERAL COURT AUTHORIZED THIS NOTICE. THIS IS NOT A
SOLICITATION FROM A LAWYER.
THE DEFENDANTS IN THE ABOVE-REFERNCED LAWSUIT HAVE AGREED TO CREATE A $36 MILLION SETTLEMENT FUND TO
PAY CLAIMS OF STAFF APPRAISER CLASS MEMBERS IN ORDER TO SETTLE A WAGE AND HOUR LAWSUIT.
ACCORDING TO COMPANY RECORDS, YOU (A) ACTIVELY WORKED AS A STAFF APPRAISER IN CALIFORNIA BETWEEN
APRIL 9, 2009 AND SEPTEMBER 28, 2015 AND, ACCORDING TO THE RECORDS OF A THIRD-PARTY ADMINISTRATOR, DID NOT
EXCLUDE YOURSELF FROM THE CLASS CERTIFIED IN THE ABOVE-REFERENCED LAWSUIT AND/OR (B) ACTIVELY WORKED AS
A STAFF APPRAISER AFTER APRIL 9, 2010 AND, ACCORDING TO COURT RECORDS, HAVE FILED AND NEVER WITHDRAWN A
CONSENT TO JOIN THE ABOVE-REFERENCED LAWSUIT.
YOUR ANTICIPATED MINIMUM ALLOCATION OF THE SETTLEMENT IS $«ESTAMT» BASED ON COMPANY RECORDS OF YOUR
INDIVIDUAL APPRAISAL REPORT PRODUCTION HISTORY, PAYROLL RECORDS, WORK WEEKS WITHIN THE CLASS PERIOD,
AND THE FORMULA ARRIVED AT BY THE PARTIES.
      •    The settlement will provide $36 million to pay claims of current and former staff appraisers who worked for Bank of America Corporation,
           LandSafe, Inc., and/or LandSafe Appraisal Services, Inc. (collectively, “LandSafe”) in California between April 9, 2009 and September 28, 2015
           who did not exclude themselves from the certified class in the lawsuit, and/or who worked as a staff appraiser between April 9, 2010 and
           September 28, 2015 and filed a consent to join the lawsuit.
      •    The settlement resolves claims of staff appraisers in a lawsuit that alleged causes of action against LandSafe for: (1) failure to pay overtime wages
           under federal and California law; (2) failure to pay earned wages upon discharge under California law; (3) failure to provide timely, accurate,
           itemized wage statements under California law; (4) failure to provide and/or authorize meal and rest periods under California law; (5) unlawful
           and/or unfair business practices in violation of California Business and Professions Code; and (6) penalties under the California Labor Code Private
           Attorneys General Act of 2004.
      •    LandSafe denies that it is liable for any of the claims. However, in light of the risk, expense, and delay of proceeding to trial and potentially
           litigating an appeal of pre-trial rulings and the trial outcome, both LandSafe and Class Counsel for the Plaintiffs believe that this is a fair settlement
           of the staff appraisers’ claims.

                                         YOUR OPTIONS AND LEGAL RIGHTS IN THIS SETTLEMENT
       DO NOTHING                  If you do nothing, you will receive a settlement payment equal to or greater than your “minimum allocation” stated above,
       AND RECEIVE                 assuming that the Court approves the settlement. The minimum allocation is based on the number and types of appraisals
                                   you completed, your payroll records and the number of weeks you worked within the relevant period. If you do nothing, a
      A SETTLEMENT                 check will arrive in the mail. The back of the check will explain that by cashing the check, you are agreeing to release all
         PAYMENT                   claims covered by this Settlement, and will be releasing your claims under the federal Fair Labor Standards Act.

                                   If you affirmatively write to exclude yourself (i.e., “opt out” of the case), you will receive no payment from this settlement.
 EXCLUDE YOURSELF                  However, you would be free to pursue your claims separately against LandSafe. The steps to exclude yourself are
                                   explained below.

                                   If you wish to challenge the terms of the settlement, including amounts requested for attorneys’ fees, costs and service
                                   awards to the Plaintiffs and others, you may file an objection with the Court, setting forth the reasons why you oppose the
                                   settlement or any of its terms. However, in order to object to the settlement you must also not exclude yourself from the
          OBJECT                   settlement. You may also appear in Court and explain why you do not like the settlement or use an attorney to appear for
                                   you. If you object, this does not mean you opt out of the class (in fact, as explained below, if you choose to “opt out” of the
                                   class, you will not be permitted to object to the settlement terms).

                                                NOTICE OF COLLECTIVE ACTION 13-CV-00561 DOC (JPRx)
                                                                                                                                                      BYTNOT031
        Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 8 of 12 Page ID
                                         #:8450
                                                           WHAT THIS NOTICE CONTAINS
BASIC INFORMATION                                                                                                                                      PAGE 2
    1. Why did I get this notice package?
    2. What is this lawsuit about?
    3. What is a class action?
    4. Why is there a settlement?

WHO IS IN THE SETTLEMENT                                                                                                                               PAGE 3
   5. How do I know if I am part of the settlement?
   6. Are there exceptions to being included?
   7. I am still not sure if I am included.
   8. For former employees: will this affect my severance?

THE SETTLEMENT BENEFITS – WHAT YOU GET                                                                                                                 PAGE 3
    9. What does the settlement provide?
    10. How much will my payment be?

YOU WILL RECEIVE A PAYMENT UNLESS YOU AFFIRMATIVELY OPT OUT                                                                                            PAGE 4
    11. How can I get a payment?
    12. When would I get my payment?
    13. What am I giving up to get a payment?
    14. What if I believe I am not being credited for the right number of work-weeks or the right number and types of appraisals?

EXCLUDING YOURSELF FROM THE SETTLEMENT
    15. How do I get out of the settlement?                                                                                                            PAGE 4
    16. What happens if I do nothing?
    17. What are claims under the Fair Labor Standards Act?

THE LAWYERS REPRESENTING THE CLASS                                                                                                                     PAGE 4
    18. Do I have a lawyer in this case?
    19. How will the lawyers and Class Representative/Plaintiffs be paid?

OBJECTING TO THE SETTLEMENT                                                                                                                            PAGE 5
    20. How do I tell the Court that I challenge all or some of the settlement terms?
    21. What’s the difference between objecting, on the one hand, and excluding myself (i.e., “opting out”) from the settlement, on the other?

THE COURT’S FINAL FAIRNESS HEARING                                                                                                                     PAGE 5
    22. When and where will the Court decide whether to approve the settlement?
    23. Do I have to come to the hearing?
    24. May I speak at the hearing?

GETTING MORE INFORMATION                                                                                                                               PAGE 6
    25. Are there more details about the settlement?
    26. How do I get more information?

INFORMATION USED TO CALCULATE YOUR SETTLEMENT SHARE                                                                                                    PAGE 6
    27. What data are being used to calculate my settlement share?

                                                                       BASIC INFORMATION
1.   Why did I get this notice package?
LandSafe’s records indicate that: (a) you worked for LandSafe as a staff appraiser in California between April 9, 2009 and the present, and a third-party
claims administrator’s records indicate that you did not exclude yourself from the class of staff appraisers certified by the Court in the lawsuit; and/or (b) you
worked for LandSafe as a staff appraiser between April 9, 2010 and the present and, according to Court records, you previously have filed and never have
withdrawn a consent to join the lawsuit.
You received this notice because you have a right to know about a proposed settlement of a class and collective action lawsuit, and about your options, before
the Court decides whether to approve the settlement. If the Court approves it, and after any objections and appeals are resolved, a third-party administrator
appointed by the Court will make the payments that the settlement requires.
This package explains the lawsuit, the settlement, your legal rights, what benefits are available, who is eligible for them, and how to get them.
The Court in charge of the case is the United States District Court for the Central District of California, and the case is known as Terry P. Boyd et al. v. Bank
of America Corp.; LandSafe, Inc. et al., Case No. 13-CV-00561 DOC. The people who brought the suit are called Plaintiffs, and entities the suit was brought
against (Bank of America Corp., LandSafe, Inc. and LandSafe Appraisal Services, Inc.) are the Defendants.
     DO NOT CONTACT THE COURT DIRECTLY WITH QUESTIONS. THE COURT WILL NOT ANSWER ANY OF YOUR QUESTIONS.
                                NOTICE OF CLASS AND COLLECTIVE ACTION SETTLEMENT 13-CV-00561 DOC(JPRx)
                                                                 -2-
        Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 9 of 12 Page ID
                                         #:8451
2.   What is this lawsuit about?
The lawsuit claims that LandSafe misclassified staff appraisers as “exempt” from state and federal overtime laws and thereby: (1) failed to pay staff
appraisers overtime when they worked more than eight hours in a day in California or forty hours in a week both within and outside of California; (2) failed
to provide rest and meal breaks to California staff appraisers; (3) failed to provide complete and accurate wage statements to its California employees;
(4) failed to pay its California employees all wages due at the time of discharge or resignation from employment; and (5) as a result of the foregoing, engaged
in unfair or unlawful business practices in violation of the California Business and Professions Code.
The Court has ruled that LandSafe staff appraisers are not exempt from overtime under the administrative or learned professional exemptions under California
or federal law, or the highly-compensated employee exemption under federal law. However, LandSafe believes that its pay practices have at all times been
appropriate under California and federal law and has vowed to appeal any adverse ruling by the Court. Nonetheless, as a result of this lawsuit and as part of
this settlement, to the extent that Bank of America Corporation, either directly or through a direct or indirect subsidiary, continues to maintain in-house Staff
Appraisers as their employees, Defendants will take steps to reclassify the Staff Appraiser position as overtime eligible as soon as practicable.

3.   What is a class action?
In a class action, Class Representatives (in this case Terry P. Boyd, Ethel Joann Parks, Sonia Medina and Linda Zanko, on behalf of staff appraisers), sue on
behalf of people who have similar claims (“Class Members”). The Court will resolve the issues for all Class Members, except for those who exclude themselves
from the Class. Note that the other individual listed in the suit (Victor Galaz) was a review appraiser, whose claims were resolved in a prior settlement.

4.   Why is there a settlement?
The Court did not issue a final judgment in favor of Plaintiffs or Defendants. Instead, the parties reached a negotiated settlement, which avoids the
uncertainties and delays associated with further litigation and which compensates the Class Members sooner, rather than later. The Class Representatives and
Plaintiffs’ attorneys believe that this settlement is in the best interests of all Class Members.

                                                             WHO IS IN THE SETTLEMENT
5.   How do I know if I am part of the settlement?
Everyone who fits the following description is a Class Member:

All Staff Appraisers who worked for Bank of America Corp., LandSafe, Inc., and/or LandSafe Appraisal Services, Inc., and who: (1) worked in California at
any time between April 9, 2009 and September 28, 2015, who did not opt out of this case, or (2) worked in a state other than California at any time between
April 9, 2010 and September 28, 2015, who timely submitted a consent form to opt-into this case, and who never withdrew their consent.


6.   Are there exceptions to being included?
You are not a Class Member if you did not work for Bank of America Corp., LandSafe, Inc., and/or LandSafe Appraisal Services, Inc. as a Staff Appraiser in
California during the period in question. Staff Appraisers that worked in a state other than California at any time between April 9, 2010 and September 28,
2015 but did not timely submit a consent form to opt-into this case, or who withdrew a prior consent form, are not included in the settlement and cannot
participate in this settlement. Staff Appraisers who opted out of this case also may not participate.

7.   I am still not sure if I am included.
If you are receiving this notice, it is most likely that you do qualify to participate, and unless you opt out or withdraw your consent form opting into this case,
you will receive a settlement payment, assuming that the Court approves the settlement. If you have questions about whether you qualify, you may contact
Class Counsel at the contact information provided below.

8.   For former employees: will this affect my severance?
If you are a former employee who, in connection with a reduction in force, signed a severance agreement containing various releases of claims against
LandSafe, LandSafe has agreed that you are still permitted to participate in this settlement. You are not required to opt out of this settlement. Remaining a part
of the class will not jeopardize any severance payments you received when you left LandSafe. However, the amount of your recovery from the settlement will
be reduced by 20% to reflect the litigation risks associated with your claims.

                                                THE SETTLEMENT BENEFITS – WHAT YOU GET
9.   What does the settlement provide?
LandSafe has agreed to create a fund of $36,000,000 to be divided among all California and non-California Staff Appraisers who participate in the settlement,
and also to be used to pay for Plaintiffs’ attorney’s fees and costs, enhancement payments to the named Plaintiffs and others who assisted in the litigation, and
other payments made pursuant to this Settlement.


Staff appraisers who participate in the settlement will receive a pro rata payment based on the number and types of appraisals that they completed for
LandSafe during the Class Period and how long they worked as staff appraisers for LandSafe during the Class Period, , whether they worked in California or
another state, and whether they previously signed a severance agreement.

California staff appraisers will receive payment that is proportionally larger than review appraisers in other states, to reflect the fact that California staff
appraisers have claims for meal- and rest-period violations and various California-specific penalties, which are claims that arise under California law, and
which are available only to California employees. Staff appraisers who previously signed a severance agreement will have their recovery from the settlement
reduced by 20% to reflect the litigation risks associated with their claims.


                                NOTICE OF CLASS AND COLLECTIVE ACTION SETTLEMENT 13-CV-00561 DOC(JPRx)
                                                                 -3-
       Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 10 of 12 Page ID
                                         #:8452
10. How much will my payment be?
Your estimated minimum share of the fund is listed on the first page of this Notice. The amount will depend on the number and types of appraisals you
completed for LandSafe during the Class Period, how long you worked as a staff appraiser for Landsafe during the Class Period, whether you worked in
California or another state, and whether you previously signed a severance agreement. If other Class Members do not participate in the settlement, your share
of the fund may increase proportionately.
One third of the settlement amount you receive will be considered wages (and have standard payroll taxes deducted from it) and the other two thirds will be
considered interest and penalties, to be paid to you with an IRS Form 1099. You alone are responsible to pay any appropriate taxes on the latter amount.

                              YOU WILL RECEIVE A PAYMENT UNLESS YOU AFFIRMATIVELY OPT OUT
11. How can I get a payment?
If you are receiving this notice, you qualify for payment, and unless you affirmatively opt out of the settlement by December 22, 2015, you will automatically
receive a payment.

12. When would I get my payment?
The Court will hold a hearing on January 11, 2016 at 8:30 a.m. to decide whether to finally approve the settlement. If the Court approves the settlement, there
may be appeals. Resolving any appeals can take time, perhaps more than a year. Please be patient.
However, if the Court approves the settlement at the hearing and there are no appeals, payments will be made within several weeks after the hearing.

13. What am I giving up to get a payment?
Unless you affirmatively exclude yourself from the settlement, you are part of the Class. You cannot sue, continue to sue, or be part of any other lawsuit
against LandSafe about the wage and hour claims covered by this settlement. It also means that all of the Court’s orders will apply to you and legally
bind you.
Unless you affirmatively exclude yourself from the settlement, you will be releasing all wage and hour claims covered by this settlement, whether you cash
your check or not, except for federal Fair Labor Standards Act claims, which will only be released if you cash your check.
You can review the exact language of the release by reviewing the Settlement Agreement online, at the web address listed in the “Getting More Information”
section of this Notice, below. The relevant portion begins in Page 33 of the Settlement Agreement.

14. What if I believe I am not being credited for the right number of work-weeks or the right number and types of
appraisals?
Any Class Member who disputes the information shown in Section 27 of his or her Notice of Settlement regarding the total number and type of appraisals that
he or she actively worked as a staff appraiser may indicate and explain such disagreement under penalty of perjury within sixty (60) days of the mailing of the
Notice of Settlement by notifying the Claims Administrator pursuant to the procedures set forth herein and described in the Notice of Settlement. Any such
Class Member must submit documentation relating to his or her dispute. The Claims Administrator shall notify LandSafe’s Counsel and Class Counsel of any
such dispute no later than five (5) days after receiving notice of the dispute. In the case of a dispute, LandSafe’s records shall control and will have a rebuttable
presumption of correctness. For any dispute that arises, counsel for the Parties may stipulate to a resolution, or may ask the Court to resolve a dispute.

                                               EXCLUDING YOURSELF FROM THE SETTLEMENT
If you do not want a payment from this settlement, but you want to keep the right to pursue claims (or continue to pursue claims) against LandSafe on your
own regarding the legal issues in this case, then you must exclude yourself from the settlement. This is called “opting out” of the settlement Class. If you
exclude yourself from the Settlement, you will not receive any money at all from this Settlement.

15. How do I get out of the settlement?
To exclude yourself from the settlement, you must send a letter by mail stating that you want to be excluded from Terry P. Boyd et al. v. Bank of America
Corp. et al. Be sure to include your name, address, telephone number, and your signature. You must mail your exclusion request postmarked no later than
December 22, 2015 to:
                                                 Boyd v. Bank of America Staff Appraiser Claims Administrator
                                                                       P.O. Box 40007
                                                               College Station, TX 77842-4007
If you ask to be excluded, you will not get any settlement payments of any kind in this case and you cannot object to the settlement. You will not be legally
bound by anything that happens in this lawsuit. You will be able to pursue claims (or continue to pursue claims) against LandSafe for the wage claims at
issue in this case in the future. If you have a pending claim or lawsuit, speak to your lawyer in that case immediately. You may need to exclude yourself from
this Class to continue your own claim or lawsuit.

16. What happens if I do nothing?
If you do nothing regarding this notice, you will be sent a check for your allocated amount. If you do not cash the check, your rights will still be affected, in
that you will give up your right to sue LandSafe for claims that this settlement resolves, other than federal claims under the Fair Labor Standards Act.

17. What are claims under the Fair Labor Standards Act?
The Fair Labor Standards Act is a federal law governing the payment of overtime for hours worked past 40 in a week. It does not have the same provisions
that California law has relating to employees taking meal or rest breaks or double-time wages.



                                NOTICE OF CLASS AND COLLECTIVE ACTION SETTLEMENT 13-CV-00561 DOC(JPRx)
                                                                 -4-
        Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 11 of 12 Page ID
                                          #:8453
In contrast, California law requires overtime to be paid for hours worked past 8 in a day or 40 hours in a week. California also has laws relating to meal breaks and
rest breaks. If you do nothing in this lawsuit and receive a check, you will give up your right to sue based on any California wage law. If you deposit your check,
you will release your state and federal wage claims; if you do not deposit your check, you will retain your right to sue under the Fair Labor Standards Act.

                                                   THE LAWYERS REPRESENTING THE CLASS
18. Do I have a lawyer in this case?
Two law firms – Bryan Schwartz Law and Schonbrun Seplow Harris & Hoffman, LLP – represent the Class. These lawyers are called Class Counsel. These
lawyers will be paid from the settlement amount, so you will not be charged personally for these lawyers’ work on this case and in negotiating this settlement.
If you want to be represented by your own lawyer, you may hire one at your own expense.


19. How will the lawyers and Class Representative Plaintiffs be paid?
Class Counsel will ask the Court to approve the payment of up to one-third of the settlement amount for attorneys’ fees (i.e., up to $12,000,000), as well as
actual litigation costs, associated with investigating the facts, litigating the case, and negotiating the settlement. The Claims Administrator administering the
settlement will be compensated at the fair market rate of those services from the settlement, currently estimated at $18,000, subject to Court approval.
Plaintiffs will also request that the Court approve payments of up to $25,000 to each of the four named Plaintiffs representing the staff appraisers, for their
work in bringing this lawsuit and in exchange for them waiving a much broader array of personal claims than you are waiving. Plaintiffs will also request that
the Court approve payments of $2,000 to each Class Member who assisted the litigation by testifying in a deposition in this case and $1,000 to each Class
Member who assisted by responding to written discovery.
Class Counsel will also ask the Court to approve a payment of $75,000 to the State of California’s Labor and Workforce Development Agency to satisfy
alleged Labor Code violations pursuant to the California Labor Code Private Attorneys General Act of 2004 (“PAGA”). This payment to the LWDA is
required by statute.
The Court may award less than these amounts. LandSafe has agreed not to oppose Class Counsel’s request for fees and expenses. If the Court awards less than
the amounts described in this section, that money will be redistributed to Class Members or distributed to an appropriate charity, depending upon the amount
of the money. None of this money will revert to LandSafe.

                                                          OBJECTING TO THE SETTLEMENT
20. How do I tell the Court that I challenge all or some of the settlement terms?
If you are a Class Member, you can object to the settlement if you wish to challenge any part of it, including the requested attorneys’ fees, costs and service
payments. You can give reasons why you think the Court should not approve it. The Court will consider your views. Please note, however, that you cannot
ask the Court to order a larger settlement; the Court can only approve or deny the settlement as it is presented. If the Court denies approval, no settlement
payments will be sent out and the lawsuit will continue. To object, you must send a letter saying that you object to the settlement in Terry P. Boyd et al. v.
Bank of America Corp. et al, Case No. 13-CV-00561 DOC (be sure to include this case name and number in your letter). Be sure to also include your name,
address, telephone number, your signature, and the reasons you object to the settlement. To be considered, you must mail any objection to the four different
places set forth below, postmarked no later than December 22, 2015, however, you may submit your objections to the request for attorneys’ fees, costs and/or
service awards 14 days before the final fairness hearing. The motion and documents requesting final approval and requesting attorneys’ fees, costs and
service awards will be filed no later than 28 days before the final fairness hearing and will be posted on Class Counsel’s website, listed below. Further, please
note that the date and time of the final fairness hearing may change so please be sure to check Class Counsel’s website to confirm. The addresses to which
your objections must be submitted are:

Court                                            Class Counsel                                                 Defense Counsel

Clerk of the Court                               Bryan Schwartz Law                                            McGuireWoods LLP
U.S. District Court for the                      1330 Broadway, Suite 1630                                     Attn: Michael Mandel
Central District of California                   Oakland, CA 94612                                             1800 Century Park East, 8th Fl.
411 W. Fourth St.                                                                                              Los Angeles, CA 90067
                                                 Schonbrun Seplow Harris & Hoffman, LLP
Santa Ana, CA 92701
                                                 Attn: Wilmer Harris
                                                 715 Fremont Ave.
                                                 S. Pasadena, CA 91030


21. What’s the difference between objecting, on the one hand, and excluding myself (i.e., “opting out”) from the settlement,
    on the other?
Objecting is simply telling the Court that you wish to challenge all or part of the settlement. You can object only if you stay in the Class. Excluding yourself
from the settlement or “opting out” is telling the Court that you do not want to be part of the Class or receive any payment at all from the settlement. If you
exclude yourself, you have no basis to object because the case no longer affects you.

                                                     THE COURT’S FINAL FAIRNESS HEARING
22. When and where will the Court decide whether to approve the settlement?
The Court will hold a Final Fairness Hearing at 8:30 a.m. on January 11, 2016 at the United States District Court for the Central District of California, at 411
W. Fourth St., Santa Ana, CA 92701, before the Honorable David O. Carter, Courtroom 9D. At this hearing the Court will consider whether the settlement is
fair, reasonable, and adequate. If there are objections, the Court will consider them. After the hearing, the Court will decide whether to approve the settlement.
Please note that the hearing may be postponed without further notice to the Class. Thus, if you plan to attend the hearing, you should check the website
identified in Question 25, below, or access the Court docket in this case through the Court’s Public Access to Court Electronic Records (PACER) system at
https://ecf.cacd.uscourts.gov.

                                 NOTICE OF CLASS AND COLLECTIVE ACTION SETTLEMENT 13-CV-00561 DOC(JPRx)
                                                                  -5-
       Case 8:13-cv-00561-DOC-JPR Document 373-1 Filed 10/09/15 Page 12 of 12 Page ID
                                         #:8454
23. Do I have to come to the hearing?
No. But, you are welcome to come at your own expense. If you send an objection, you do not have to come to Court to talk about it. As long as you mailed
your written objection on time, the Court will consider it. You may also pay your own lawyer to attend, but it is not necessary.

24. May I speak at the hearing?
You may ask the Court for permission to speak at the Final Fairness Hearing. To do so, you must send a letter to the Clerk of the Court saying that it is your
“Notice of Intention to Appear in Terry P. Boyd et al. v. Bank of America Corp. et al., Case No. 13-CV-00561 DOC.” Be sure to include your name, address,
telephone number, and your signature. Your Notice of Intention to Appear must be postmarked no later than [XXX], 2015, and be sent to the Clerk of the
Court, Class Counsel, and Defense Counsel, at the four addresses listed in Question 20, above. You cannot speak at the hearing if you excluded yourself
(“opted out”) from the settlement.

                                                                                                                                                «ClaimID»
                                                          GETTING MORE INFORMATION
25. Are there more details about the settlement?
This notice summarizes the proposed settlement. More details are in a Settlement Agreement. If there is any conflict between this notice and the Settlement
Agreement, the Settlement Agreement will control. You can view a copy of the Settlement Agreement and other key documents in this case at the following
web address: www.bryanschwartzlaw.com/LandsafeStaffAppraiserSettlement.htm.

26. How do I get more information?
You can call 1-866-497-4092 toll free, write to Boyd v. Bank of America Staff Appraiser Claims Administrator, P.O. Box 40007, College Station, TX
77842-4007, or go to www.bryanschwartzlaw.com/LandsafeStaffAppraiserSettlement.htm.

You may also call Class Counsel:
     Bryan Schwartz       (510) 444-9300
     Wilmer Harris        (626) 441-4129
     Michael Seplow       (310) 396-0731

                                   INFORMATION USED TO CALCULATE YOUR SETTLEMENT SHARE
27. What data are being used to calculate my settlement share?
According to Landsafe’s records, you worked [in California] [in a state other than California] during the Class Period.

According to Landsafe’s records, you did [did not] sign a severance agreement.

According to LandSafe’s records, you worked [       ] weeks as a staff appraiser during the Class Period.

According to LandSafe’s records, you completed the following number of the types of appraisals listed below during the Class Period.




                                                                                 1004     [#]
                                                                                 [type 2] [#]
                                                                                 [type 3] [#]
                                                                                 Etc.




                                                                                 :




                                                               DO NOT CALL THE COURT

                                                                       CONCLUSION
        THIS NOTICE AND ITS CONTENTS HAVE BEEN AUTHORIZED BY THE UNITED STATES DISTRICT COURT FOR THE
      CENTRAL DISTRICT OF CALIFORNIA, THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT COURT JUDGE.

                                                                                                                              The Honorable David O. Carter
                                                                                                                              United States District Judge


                               NOTICE OF CLASS AND COLLECTIVE ACTION SETTLEMENT 13-CV-00561 DOC(JPRx)
                                                                -6-
